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   19
                                   UNITED STATES DISTRICT COURT

   20
                               CENTRAL DISTRICT OF CALIFORNIA

   21                                            Case No.14-2171-JGB-SP
   22   DAN MCKIBBEN, et al.,                    [Hon. Jesus G. Bernal]
   23                   Plaintiffs,              [PROPOSED] ORDER RE: FILING
        vs.                                      OF LATE CLAIM BY DAMIAN
   24                                            LIGGINS
   25   JOHN MCMAHON, et al.,
                        Defendants               [Filed concurrently with unopposed
   26                                            ex parte application].
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    1         GOOD CAUSE APPEARING THEREFORE, based on Plaintiffs’
    2   unopposed Ex Parte Application for the late filing of the claim of Damian Rohan
    3   Pate Liggins, and no objections having been raised, the application is therefore
    4   GRANTED.
    5         IT IS HEREBY ORDERED that Damian Rohan Pate Liggins be deemed to
    6
        have filed a timely claim.
    7
    8
        Dated: February ____, 2019             _______________________________
    9                                          Jesus G. Bernal, Judge
   10                                          United States District Court

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   13   Prepared by:
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   15
        /S/DAVID S. McLANE
   16   Counsel for Plaintiffs
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